          Case 4:20-cv-01067-BRW Document 65 Filed 11/10/21 Page 1 of 1




                          IN THE UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF ARKANSAS
                                    CENTRAL DIVISION

ADAM LANE,                                                                           PLAINTIFF
ADC #155843

VS.                                  4:20-CV-01067-BRW-JTK

WILLIAM STRAUGHN, et al.                                                         DEFENDANTS

                                              ORDER

        I have reviewed the Proposed Findings and Recommended Disposition submitted by

United States Magistrate Judge Jerome T. Kearney. No objections have been filed. After

careful consideration, I approve and adopt the Proposed Findings and Recommended Disposition

in all respects.

        IT IS, THEREFORE, ORDERED THAT:

        1.         The Motion for Summary Judgment filed by Defendants Bennett and Kerstein

(Doc. No. 57) is GRANTED;

        2.         The Motion for Summary Judgment filed by Defendants Branch, Lay, and Straughn

(Doc. No. 54) is GRANTED; and

        3.         Plaintiff’s Complaint (Doc. No. 2) is DISMISSED with prejudice.

        DATED this 10th day of November, 2021.


                                                      Billy Roy Wilson_________________
                                                      UNITED STATES DISTRICT JUDGE
